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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  CHARLESTON DIVISION


ROBERT ALLEN,

                              Plaintiff,

v.                                                    CIVIL ACTION NO. 2:17-cv-01185

LENDMARK FINANCIAL SERVICES
OF WEST VIRGINIA, INC.

                              Defendant.


                                    ORDER OF DISMISSAL

       This Court has been advised that the above-styled civil action has been compromised and

settled. (ECF No. 21.) Therefore, it is ORDERED that this civil action be, and the same is

hereby, DISMISSED WITH PREJUDICE and retired from the docket of the Court, subject to

reopening on motion of any party, and for good cause shown, within 90 days.

       The parties need not submit any additional proposed dismissal or other final order unless

it is required by law or is necessary under the terms of any agreement resolving this civil action.

       IT IS SO ORDERED.

       The Court DIRECTS the Clerk to send a copy of this Order to counsel of record and any

unrepresented party.

                                              ENTER:         December 7, 2017
